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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION H _ 0 2 _ 0 4 1 0

PIRELLI ARMSTRONG TIRE § Civil Action No.
CORPORATION RETIREE MEDICAL
BENEFITS TRUST, On Behalf of Itself and All § CLASS ACTION

Others Similarly Situated, §
§
Plaintiff, §
§
vs. §
§

HANOVER COMPRESSOR COMPANY, § °
MICHAEL J. MCGHAN, WILLIAM S. §
GOLDBERG and MICHAEL A. O'CONNOR, §
§

Defendants. § DEMAND FOR JURY TRIAL

 

|
COMPLAINT FOR VIOLATION OF THE FEDERAL SECURITIES LAWS
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INTRODUCTION AND OVERVIEW

1. This is a securities class action on behalf of all persons who purchased the publicly
traded securities of Hanover Compressor Company ("Hanover" or the "Company") between
November 8, 2000 and January 28, 2002 (the "Class Period"). Plaintiff alleges violations of the
federal securities laws arising out of defendants’ issuance of false financial statements and other false
and misleading statements about the Company's operating performance.

JURISDICTION AND VENUE

2. The claims asserted arise under §§10(b) and 20(a) of the Securities Exchange Act of
1934 ("Exchange Act"), 15 U.S.C. §§78)(b) and 78t, and Rule 10b-5. Jurisdiction exists pursuant
to §27 of the Exchange Act, 15 U.S.C. §78aa, and 28 U.S.C. §1331. Certain of the Individual
Defendants are residents and citizens of this District, including defendants McGhan and Goldberg.
Hanover is a citizen of Texas, as it is a corporation with its principal place of business in Houston,
Texas.

3. Hanover conducts business in and maintains operations in this County. Defendants'
wrongful conduct took place in this District, including dissemination of many of the false and
misleading statements made by defendants in and from this County. For example, the false releases
and Securities and Exchange Commission ("SEC") filings complained of herein were prepared and
disseminated from this County.

THE PARTIES

4. Plaintiff Pirelli Armstrong Tire Corporation Retiree Medical Benefits Trust purchased
shares of Hanover during the Class Period (as reflected in the attached Certification) and was
damaged thereby.

5. Defendant Hanover began operating in 1990 and is headquartered in Houston, Texas.
Hanover is a provider of natural gas compression, gas handling and related services in the United
States and select international markets.

6. (a) Defendant Michael J. McGhan ("McGhan") was at all relevant times the
President and CEO of Hanover. Because of his position, McGhan knew the adverse non-public

information about Hanover's business, as well as its finances, markets and present and future

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business prospects via access to internal corporate documents (including the Company's operating
plans, budgets and forecasts, and reports of actual operations compared thereto), conversations and
connections with other corporate officers and employees, attendance at management and Board of
Directors' meetings or committees thereof, and via reports and other information provided to him
in connection therewith. During the Class Period, McGhan participated in the issuance of false
and/or misleading statements.

(b) Defendant William S. Goldberg ("Goldberg") was the Executive Vice
President and CFO of Hanover. Goldberg is also the managing director of GKH Partners, L.P., the
General Partner of GKH Investments, L.P. (collectively,"GKH"). Because of his position, Goldberg
knew the adverse, non-public information about Hanover's business, as well as its finances and
present and future business prospects via access to internal corporate documents (including the
Company's operating plans, budgets and forecasts, and reports of actual operations compared
thereto), conversations and connections with other corporate officers and employees, attendance at
management or Board of Directors’ meetings and committees thereof, and via reports and other
information provided to him in connection therewith. During the Class Period, Goldberg
participated in the issuance of false and/or misleading statements. Goldberg took advantage of the
defendants' false statements, selling at least 4.9 million shares of Hanover stock during the Class
Period at a price of $35.15 per share, for proceeds of approximately $172 million. These sales were
for shares owned by GKH, which is controlled by him.

(c) Defendant Michael A. O'Connor ("O'Connor") was at all relevant times the
Chairman of Hanover. Because of his position, O'Connor knew the adverse, non-public information
about Hanover's business, as well as its finances and present and future business prospects via access
to internal corporate documents (including the Company's operating plans, budgets and forecasts,
and reports of actual operations compared thereto), conversations and connections with other
corporate officers and employees, attendance at Board of Directors and/or management meetings,
and via reports and other information provided to him in connection therewith. During the Class

Period, O'Connor participated in the issuance of false and/or misleading statements. O'Connor took

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advantage of the defendants’ false statements, selling at least 150,000 shares of Hanover stock during
the Class Period at a price of $35.15 per share, for total proceeds of more than $5.2 million.

(d) The defendants identified in §6(a)-(c) are referred to herein as the "Individual
Defendants.”

KNOWLEDGE, GROUP-PUBLISHED DOCUMENTS, AND DUTY
TO DISCLOSE OR ABSTAIN FROM STOCK SALES

7. During the Class Period, each of the Individual Defendants occupied a position as one
of the top three Hanover executives and was privy to non-public information concerning the
Company. Each of them knew of the adverse facts specified herein. Notwithstanding their duty to
refrain from causing Hanover to sell/dispose of stock or other securities while in possession of
material, adverse, non-public information concerning the Company, these defendants caused
Hanover to sell (issue) millions of shares of Hanover stock at grossly inflated prices, thus allowing
the Individual Defendants and Hanover to benefit from the defendants' wrongful course of conduct.
Hanover completed a secondary share offering that closed on March 16, 2001 at a price of $35.15.
In that offering, insiders sold 7.5 million shares and the Company sold 2.5 million. In addition,
during the Class Period the Company sold $170 million of convertible senior notes at a conversion
price of $43.94. Hanover's press releases, corporate reports to shareholders, and filings with the SEC
were each group-published documents for which each defendant is equally responsible.

8. Each of the Individual Defendants and Hanover is liable for making false and
misleading statements in that they inflated the price of Hanover stock by making false and
misleading statements and omitting material adverse information. The defendants' wrongful course
of business (i) artificially inflated the price of Hanover's stock during the Class Period; (ii) deceived
the investing public, including plaintiffand other Class members, into acquiring Hanover's securities
at artificially inflated prices; (iii) allowed the Individual Defendants to sell more than $177 million
worth of the shares held/controlled by them and allowed the Company to sell 2.5 million shares of
its own stock together with a simultaneous $170 million convertible note offering; (iv) complete the
acquisition of Schlumberger Ltd.'s natural gas business using $283 million of its own stock; and (v)

permitted Hanover to grow and benefit economically from the wrongful course of conduct.

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9. Hanover and its top officers inflated the price of the Company's stock in order to
pursue an accelerated securities sale program. Defendants knew that concealing Hanover's Hampton
Roads joint venture and the true impact it would have on the Company provided the only way that
they could foster the perception in the business community that Hanover was a "growth company,"
i.e., the only way Hanover could post the revenue and earnings per share ("EPS") growth claimed
by defendants.

BACKGROUND AND OVERVIEW

10. Hanover's September 30, 2000 10-Q mentions several transactions. However, it
conceals one transaction that actually took place in September, but was not reported in September.
This deal was a 25% investment in a limited partnership called "Hampton Roads."! Hampton Roads
iS a Joint venture whose purported purpose was to build and operate a facility in Nigeria. Hanover
agreed to invest $1.25 million into the deal.

11. | However, the "real" purpose of Hampton Roads was to provide a meaningful boost
to Hanover's reported earnings in the September and December 2000 quarters and beyond.
Potentially, the deal was worth $51 million in revenue to Hanover. That is a material amount of
revenue and would generate significant earnings. Defendants’ goal was for all of the revenue to have
been recognized by Hanover before the end of Q3 01, but they needed to recognize a material
amount in Q3 00 and Q4 00.

12. The reason that the Q3 00 and Q4 00 quarters are so important is that Hanover
completed a secondary share offering that closed on March 16, 2001, at price of $35.15. In that
offering insiders sold 7.5 million shares and the Company sold 2.5 million. In addition the Company
sold $170 million of convertible senior notes at a conversion price of $43.94.

The Sham Transaction

13. In March 1998, a Nigerian company, GERL, entered into an agreement with Shell

to buy gas from Shell in Nigeria. GERL was obligated as part of the deal to build and operate a gas

processing plant on three barges to be located near Cawthorne Channel in Nigeria. In July 1999,

 

'The first and only mention of this deal that we can find in the public filings of Hanover is
in the Fiscal 2000 10-K that was issued on April 2, 2001.

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Hanover entered into an agreement with GERL to build the barges. In April 2000, a Houston energy
broker, who is now an employee of Hanover, approached a local wealthy individual with a business
proposition. The investor could receive at least a guaranteed 20% return on his investment for 10
years.

14. Defendants worked at completing the deal in the summer of 2000, but toward the end
of Q3 00, the defendants were scrambling to obtain signatures of all the relevant parties by
September 30, 2000, so that their scheme to inflate the Company's results and complete the share
and convertible note sales could succeed. The documents consisted of a partnership member
agreement, a turnkey construction agreement with Hanover Maintech, a security agreement, a
financing statement, and a guarantee of refund by Hanover.

15. The potential investor in Hampton Roads was advised to record the transaction in the
Company's Q3 00, as the deal needed to be done by September 30, 2000, so that defendants could
book revenue. In fact, it appears that the need to finish the deal was so urgent that Hanover agreed
to pay the investor an additional inducement of a $1 million commission if the deal got done
promptly. In addition, Hanover also gave the investor a side letter saying that it would loan up to
approximately $40 million to the joint venture in the event the joint venture could not line up the
additional financing necessary to pay the partnership's obligations to Hanover Maintech.

16. The deal was signed on the weekend of September 30, 2000. The investor was to
own 75% of the Hampton Roads joint venture, and Hanover 25%. Hanover agreed to pay the
investor a $1 million fee to close the deal. The partnership provided a "Notice to Proceed" to the
contractor, Hanover Maintech, on September 30, 2000.

Terms of the Sham Transaction

17. Hanover would build and operate a natural gas processing plant built on three barges
that would be operational in Nigeria by August 2001. Hanover represented that the partnership
would enter into a lease agreement which would provide to the partnership $1.1 million per month
for a ten-year period, which was to be split 25% to Hanover and 75% to the investor, and at the end
of the lease the barges were expected to be sold for $51 million or more, with the split again

25%/75%, except that over $60 million the split was 50%/50%. The investor expected to receive

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pre-tax net income of about $550,000 from this deal every month for a ten-year period after the barge
was put into production. Hanover agreed to arrange to guarantee these payments. Thus, the investor
expected a pre-tax return of $66 million over a 10-year period, guaranteed, on a net investment of
$2.75 million plus some expenses. In addition, he would receive proceeds from the sale of the
barges at the end of the 10-year lease. This sounds as if it was too good to be true, and indeed it did
not happen.

18. Simultaneously with the partnership deal being signed on September 30, 2000, the
partnership executed a "Turnkey Construction Agreement" with Hanover Maintech, which said that
it was giving Hanover a $51 million order to construct and install the barges by August 31, 2001.
The first payment, $5 million, was to be made in 30 days, and the balance to be paid later. The
partnership agreed to give Hanover a $43.5 million promissory note to guarantee its obligations to
Hanover. Hanover guaranteed Maintech's performance to the partnership.

19. Also on September 30, 2000, Hanover issued a loan commitment letter to the
partnership which constituted

Hanover's commitment to loan funds to Hampton ... for the purpose of paying

Hanover Maintech.... The balance of the purchase price as evidenced by a certain

Promissory Note to be executed by Hampton ... upon acceptance of the plant/barges

as provided for in the Turnkey Construction Contract ... not to exceed $43,500,000
in the event that Hampton could not itself line up the financing.

20. Also on September 30, 2000, Hanover Maintech issued a letter agreeing to pay a $1
million commission on the Turnkey deal to Hampton Roads or to a designated nominee of Hampton.
This payment was due within 10 days after Hampton made the $5 million down payment to Hanover
Maintech.

21. On November 6, 2000, Hanover issued a "Guarantee of Refund" to Hampton. The
guarantee of refund notes that Global Leasing entered into a charter for the barges to be provided by
Hampton. Global Leasing was supposed to provide a performance guarantee with respect to its lease
obligations acceptable to Hampton by September 1, 2001. In connection with Global's obligation,
Travelers of Hartford had issued on October 27, 2000, a conditional letter of commitment to issue

the guarantee by September 1, 2001. However, if the conditions in the conditional letter were not

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met, then Travelers would not issue the performance guarantee. The Guarantee of Refund from
Hanover to Hampton provided that if the preconditions were not met and the guarantee was not
issued by Travelers, then Hanover would refund to Hampton any payments and expenses that had
been incurred in relation to the transaction with Hanover Maintech and that Hampton would be
released from all its obligations to Hanover Maintech. The guarantee to Hampton provided that if
the performance bond had not been posted guaranteeing the lease deal by February 6, 2001, that
Hampton could demand and receive its money back from Hanover Maintech.

22. In December 2000, the investor in Hampton learned of problems with the deal in
Nigeria. Hanover told the investor that Shell Nigeria, which was to provide the feedstock to the
natural gas plant in Nigeria which would be making the lease payments to Hampton, was claiming
that it could not provide the amount of gas necessary to support the size of the project. The investor
flew to Nigeria, where the president of Shell Nigeria told him that the critical pipeline that was
necessary to provide gas feedstock to the plant would not be in place until between October 2003
and October 2004. Moreover, according to the investor, he was told that October 2003 to October
2004 had always been the completion date, and that defendants had been aware of this. He further
told the investor that Shell Nigeria was in a formal arbitration in London with Hanover and Global
Nigeria about the size of the plant.

23. On February 5, 2001, when the deadline for providing the surety bond arrived and
no bond had been produced, the investor decided to ask for his money back under the refund
agreement. A letter requesting the refund was sent to Hanover on February 6, 2001.

24. Hanover delayed the refund of the money until March 19, 2001, three days after
Hanover and Hanover insiders sold 10 million shares to the public and the convertible bond
offering had been priced.

25. Hanover did deliver a refund of $4 million pursuant to the guarantee of refund
agreement on March 19, 2001. However, the method that it chose to deliver the funds was
curious indeed. Hanover told the investor that it would not refund the money directly to the
investor. Instead, it wanted to refund the money to another company related to the investor. On

March 19, 2001, Hanover refunded the $4 million to a related entity of the investor, and in return

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the investor's affiliated entity issued a promissory note to Hanover for $4 million, payable by May
18, 2001.

26. Ofcourse, the note was never repaid and Hanover never made a demand that the note
be repaid. Instead, on August 7, 2001, the note was canceled. At the same time, on August 7, 2001,
Hanover issued a letter to the investor's attorney that asked for an agreement from the investor that
acknowledged that when Hanover made the $4 million loan to the investor's affiliated entity that the
entity was acting as a nominee for Hampton, and it was understood that the funds were to be treated
as a repurchase of the investor's membership interest in Hampton Roads. The language reads:
"notwithstanding the documentation," and "as such represents a return of capital." Also on
August 7, 2001, the investor agreed to relinquish his interest in the partnership, but retained his
rights respecting costs and expenses and claims owed him under the original agreement. It would
not be until January 2002 that the truth concerning the Hampton Roads transaction would ever begin
to emerge. As the truth began to trickle into the market, followed by the Company's admission on
January 28, 2002 that it had booked millions in revenue/EPS associated with its dubious Hampton
Roads project, Hanover's shares had plummeted to below $15.00 per share.

FALSE AND MISLEADING STATEMENTS

27. On November 8, 2000, the Company issued a press release entitled, "Hanover
Compressor Reports Record Third Quarter Driven by Strong Growth Across All Business Segments;
Year-Over-Year Quarterly Net Income Increases 48%; Year-Over-Year Quarterly Cash Flow
Increases 60%." The press release stated in part:

Hanover Compressor Company, a leading provider of outsourced natural gas
compression services, today reported continued strong growth in revenue, cash flow
and net income for the third quarter ended September 30, 2000.
Total revenue for the third quarter 2000 was $162.6 million, representing an

86 percent increase over total revenue for the quarter ended September 30, 1999 of

$87.3 million. Cash flow (income before income taxes, interest expense, leasing

expense, distributionson mandatorily redeemable convertible preferred securities and

depreciation and amortization) increased 60 percent in the third quarter of 2000 to

$55.2 million or $0.77 per fully diluted share. Year earlier cash flow was $34.5

million or $0.56 per fully diluted share. Net income grew 48 percent to $15.4 million

or $0.23 per fully diluted share, compared with $10.4 million or $0.17 per fully
diluted share for the third quarter of 1999.

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Total revenues for the nine-month period ended September 30, 2000 were
$370.2 million, compared with $227.8 million for the first nine months of 1999, an
increase of 63 percent. Cash flow increased 47 percent to $139.4 million or $2.16
per fully diluted share, compared with cash flow of $94.8 million or $1.55 per fully
diluted share. Net income grew 43 percent to $39.3 million or $0.61 per fully diluted
share, compared with $27.5 million or $0.45 per fully diluted share for the nine
months ended September 30, 1999. Per share results have been adjusted to reflect
the 2-for-1 stock split of outstanding shares on June 13, 2000.

"Hanover's very strong growth in revenues, cash flow and earnings reflect the
Company's outstanding execution of our five-part growth strategy as well as the
continued industry-wide growth in outsourcing in this highly favorable operating
environment," said Michael J. McGhan, president and chief executive officer. "Our
company has continued to make substantial gains in the core compression and gas
handling business through strong organic growth as well as the successful integration
of Hanover's recent major acquisitions, PAMCO Services International and Dresser-
Rand's Compression Services Division. At the same time, Hanover has very
successfully expanded into related product and service markets such as outsourced
gas treating, compression maintenance and gas measurement, among others,
expanding Hanover's market reach and increasing its return on capital. Through
these moves we are able to offer the broadest set of compression and gas handling
solutions, adding more value to our customers and assisting them to achieve their
own performance and growth goals," McGhan added.

Compression rental revenue for the quarter ended September 30, 2000,
increased 33 percent to $66.3 million, compared with $50.0 million for the third
quarter of 1999. Total compression horsepower was 2,098,000 at September 30 and
fleet horsepower utilization averaged 93 percent during the quarter. This statistic
includes the impact of Hanover's acquisition of PAMCO Services International and
Dresser-Rand's Compression Services Division in July and September, respectively,
whose combined fleet aggregates 375,000 horsepower and is presently operating at
85 percent horsepower utilization, compared with 76 percent at the time of those
acquisitions. Hanover's parts, service and used equipment segment continued to
experience the fastest rate of growth among Hanover's businesses, with total revenue
of $28.7 million, up 132 percent from the same period a year earlier. Third quarter
compressor fabrication revenues increased 88 percent to $31.0 million, reflecting an
increase in both compression horsepower packaged as well as unit sales to third party
customers. Production and processing equipment fabrication revenue was $32.8
million, up 324 percent from the year earlier period, reflecting both the strengthening
of Hanover's oil and gas production equipment business and the contribution of the
T.H. Russell Co. and Maloney Industries units of Applied Process Solutions, Inc.,
acquired by Hanover on June 5, 2000.

"Looking ahead, managementsees continued significant growth due to the
increasing outsourcing trend among our rapidly expanding customer base,
Hanover's continued expansion of new and highly-related business lines and
further improvements in the performance of recently acquired companies,"
McGhan said. "Hanover's solid performance to date confirms our view that a
period of accelerated growth in the compression and gas handling industries is
underway. The current outlook for our industry is very favorable and Hanover,
the market leader, is expanding its lead, Steady growth in demand has resulted in
industry-wide improvementin fleet utilization as the outsourcing trend intensifies.
Hanover's strategies, organization and growth drivers are in place and the activity
level throughout our company is very high, contributing to our very strong
outlook."

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28.

On March 9, 2001, the Company issued a press release entitled, "Hanover

Compressor Reports Record Results; Anticipates "Strong" Growth in 2001; 4th Quarter Cash Flow

and Diluted Earnings Per Share Increase 80 Percent and 29 Percent, Respectively; Fully Diluted

4Q00 EPS $0.27 vs. $0.21." The press release stated in part:

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Hanover Compressor Company, a leading provider of outsourced natural gas
compression services, today reported record revenues, cash flow and earnings per
common share for both the fourth quarter and year ended December 31, 2000,
continuing the Company's strong growth record.

"We are very pleased with Hanover Compressor's 45 percent growth in net
income and 57 percent growth in cash flow during 2000, supported by the continued
strength of the compression outsourcing segment, the very favorable operating
environment for the energy industry, and the success in several recent acquisitions,"
said Michael J. McGhan, President and Chief Executive Officer. "We also were
highly successful in growing our geographic presence both domestically and
overseas, and in expanding our product line, thereby extending Hanover's industry
leadership position.

"We continue to maintain our lead in the compression services business, and
we have confidence in Hanover's strong growth in the years ahead. Hanover's
leadership in compression enables our company to offer customers a total solution
to their gas handling needs by extending our successful outsourcing model from
compression to gas treating, process measurementand power generation. I'm pleased
to report we are experiencing strength in all aspects of our outsourcing business in
the U.S. and dynamic international markets. The genuine value we deliver to our
customers drives the outstanding growth Hanover is experiencing. These factors,
together with the success of recent acquisitions and other successful growth
initiatives, drive our belief that Hanover will deliver strong growth in 2001."

For the fourth quarter of 2000, total revenues increased 145 percent to $233.6
million from $95.4 million in the year-earlier period. Net income rose 50 percent to
$19.4 million from $12.9 million. Diluted earnings per common share increased 29
percent to $0.27 from $0.21. For the full year 2000, total revenues increased 87
percent to $603.8 million from $323.2 million in the prior year. Net income rose 45
percent to $58.7 million from $40.4 million. Diluted earnings per common share
increased 33 percent to $0.88 from $0.66.

For the fourth quarter of 2000, the Company's cash flow (income before
income taxes, interest expense, leasing expense, distributions on mandatorily
redeemable convertible preferred securities and depreciation and amortization)
increased 80 percent to $67.3 million from $37.3 million in the year-earlier period.
For fiscal 2000, the same measure increased 57 percent to $206.7 million from
$132.1 million.

Hanover's record performance in 2000 was driven by its core compression
rentals segment, which generated over 81 percent of the Company's consolidated
cash flow. Compression rental revenues increased 35 percent from quarter to quarter
and 32 percent year to year. Related compression parts and service segment revenues
were up 478 percent quarter to quarter and 257 percent year to year as a result of
increased marketing focus and expansion of business activities through recent

 
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acquisitions. Compressor fabrication revenues increased 115 percent quarter to
quarter and 84 percent year to year.

Production and processing equipment fabrication increased 406 percent
quarter to quarter and 216 percent year to year. Strong growth during 2001 is
anticipated as the Company's diversified customer base increasingly fills its
compression services requirements through outsourcing compression and accelerates
its purchases of equipment in concert with expanding production budgets.

Rental fleet compression, including the acquisition of OEC Compression
scheduled to close this month, totals 2.4 million horsepower, an increase of 65
percent over 1999, reflecting the impact of both acquisitions and continued organic
growth in customer demand for outsourcing compression.

Looking ahead, McGhan remarked, "Hanover's solid growth confirms our
view that a period of strong growth in the compressionand gas handling industries
is underway. Our confidence is supported by the robust business environmentthat
our customers and we are now experiencing. Hanover has delivered significant
growth during all phases of the commodity price cycle, and the present exceptional
business environment is extremely encouraging. Hanover's strategies,
organization and growth drivers are in place and the activity level throughout our
company is strong, thereby contributing to Hanover's strong outlook. This future
growth will be the product not only of sound acquisitions, but also due to the
strong internal growth Hanover sees as customers continue to outsource more and
more of the gas compression and treatment process to total solution providers."

29. On March 16, 2001, the Company issued a press release entitled, "Hanover
Compressor Company Announces Pricing of Public Offering.” The press release stated in part:

Hanover Compressor Company today announced the public offering of 10 million
shares of common stock and $170 million convertible senior notes.

The initial public offering price will be $35.15 for 10 million shares of its
common stock, 2.5 million of which are offered by Hanover and 7.5 million shares
of which are offered by selling stockholders.

Hanover also will issue $170 million aggregate principal amount of 4.75%
Convertible Senior Notes due 2008. The notes will mature on March 15, 2008 and
are first subject to call on March 15, 2004. The notes will be convertible into shares
of Hanover Compressor Company common stock at a conversion price ‘of
approximately $43.94 per share.
30. On April 2, 2001, the Company filed its 10-K, which stated in part:

The Company has no commitments or contingent liabilities which, in the
judgment of management, would result in losses that would materially affect the
Company's consolidated financial position, operating results or cash flows.
31. On May 9, 2001, the Company issued a press release entitled, "Hanover Compressor

Reports Record Revenue and Cash Flow for | st Quarter; Year-Over-Year Cash Flow Increases 78%;

Fully Diluted 1Q01 EPS $0.26 vs. $0.18." The press release stated in part:

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Hanover Compressor Company, a leading provider of outsourced natural gas
compression services, today reported revenues increased 143 percent and cash flow
increased 78 percent for the first quarter ended March 31, 2001, compared with the
same quarter a year earlier.

"Across the board, Hanover's operations turned in a very solid performance
in the first quarter, reflecting strong growth across all product lines, outstanding field
operations and the continued success of the corporate acquisitions we completed
during the second half of last year," said Michael J. McGhan, President and Chief
Executive Officer. "Our results display strong organic growth in our outsourcing
businesses which now includes compression, gas treating, process measurement and
power generation.”

"The trend toward outsourcing continues to be strong among natural gas
producers, both domestically and overseas," McGhan said. "Hanover's compressor
fleet utilization and efficiency are running at a very high rate as our Company
performs at the highest level for our expanding customer base. Barring fundamental
changes in the energy sector, we anticipate continued strong growth throughout the
year."

First quarter total revenues increased 143% to $219.8 million from $90.6
million for the quarter ended March 31, 2000. Cash flow (income before income
taxes, interest expense, leasing expense, distributions on mandatorily redeemable
convertible preferred securities and depreciation and amortization) increased 78% to
$69.8 million from $39.2 million for the same quarter a year ago. First quarter net
income of $18.6 million was 66% higher than the year earlier level of $11.2 million.
Diluted earnings per common share were $0.26, a 44% increase over $0.18 per fully
diluted share a year ago. Diluted earnings per share for the quarter were reduced by
$0.02 as a result of non-cash charge attributable to the Company's implementation
of Financial Accounting Standards Board (FASB) Statement 133, Accounting for
Derivatives, relating to an interest rate swap held by the Company.

32. On August 9, 2001, the Company issued a press release entitled, "Hanover
Compressor Reports Record Revenues, EBITDA and Net Income for Second Quarter 2001; Year-
Over- Year Quarterly Cash Flow Increases 72%." The press release stated in part:

Hanover Compressor, a leading provider of outsourced natural gas
compression and treating services, today reported revenues increased 124.7 percent
and cash flow increased by 71.6 percent for the second quarter ended June 30, 2001,
compared with the same quarter a year earlier. Net income for the quarter increased
83.2 percent over the prior year period.

The company also reported that its planned acquisition of Schlumberger's
Production Operators Corporation natural gas compression business and other related
interests for $761 million is proceeding on schedule and is expected to close by the
end of the month.

"This second quarter of 2001 marked a milestone in the 11-year history of
Hanover Compressor," said Michael J. McGhan, President and Chief Operating
Officer. "Each of our business segments achieved outstanding performance as we
significantly increased our global presence and overall market position through
internally generated growth and Hanover's continued significant improvement of
recently acquired operations. This level of accomplishment has Hanover very well

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prepared for the addition of Schlumberger's Production Operators (POI) gas
compression unit, South American joint ventures, and related assets. This
transaction, which is accretive from the onset and is scheduled to close at the end of
the month, will also launch a worldwide alliance between Schlumbergerand Hanover
and will result in Schlumberger becoming a major shareholder in Hanover for at
least three years. POI's organization and customer base is first rate and we are very
excited about this outstanding group becoming part of the Hanover family."

* * *

"Our accelerating progress in recent years is proof of the resounding strength
and added value of our outsourcing model. Demand for both primary and outsourced
gas compression and related gas handling services continues to grow, especially
overseas," McGhan said. "Our business is very much about providing our customers
here and abroad a total solution of products and services — bundling compression,
parts and service, gas processing, treating and measurement, power generation and
pump systems — to help them improve their business results. We are very excited
about our growth opportunities over the next five years and beyond."

Overall growth among Hanover's core business segments was strongly
compared with the second quarter a year ago, reflecting the impact of the Company's
growth strategy as well as the successful integration of several recent corporate
acquisitions.

33. On September 4, 2001, the Company issued a press release entitled, "Hanover
Compressor Completes Acquisition of Natural Gas Compression Business and Related Assets of
Schlumberger Creating Global Alliance." The press release stated in part:

With Completion, Schlumberger Owns 10 Percent of Hanover; Companies
Enter into a Long-Term, Joint Business Development Effort.

Strategic Acquisition Significantly Extends Hanover's Global Position;
Management Expects Strong Annual Revenue Growth Over Next Five Years.

Hanover Compressor, today announced that it had completed its previously
announced acquisition from Schlumberger Limited of the Production Operators
Corporation natural gas compression business; ownership interests in certain joint
venture projects in South America; and related assets for $761 million.

Under the terms of the definitive agreement, Schlumberger received $270
million in cash, $150 million in a long-term subordinated note and 8,707,693
Shares of newly issued restricted Hanover common stock having a nominal value
of $283 million, based on $32.50 per share value of Hanover common stock.
Additionally, under the terms of the agreement, Schlumberger is entitled to receive
a distribution of up to $58 million upon the occurrence of certain events relating to
one of the joint ventures acquired by Hanover in the transaction. Hanover
management reconfirmed its belief that the transaction will add annual revenue and
EBITDA of at least $200 million and $90 million, respectively, within one year.

34. On November 7, 2001, the Company issued a press release entitled, "Hanover

Compressor Reports Record Revenue and Cash Flow for 3rd Quarter; Year-over-Year Cash Flow

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Before Special Charges Increases 67%; Fully Diluted 3Q01 EPS Before Special Charges $0.36 vs.
$0.23." The press release stated in part:

Hanover Compressor Company, a leading provider of outsourced natural gas
compression services, today reported continued strong growth for the third quarter
ended September 30, 2001. For the quarter revenues of $298.8 million increased 84
percent over the prior year quarter. Third quarter cash flow (income before taxes,
interest expense, leasing expense, distributions on mandatorily redeemable
convertible preferred securities and depreciation and amortization) and net income
of $83.8 million and $22.5 million, or $0.29 per share, respectively, increased 52
percent and 46 percent, respectively, compared with the same quarter a year earlier.

Cash flow before special items, excluding the effects of market to market for
derivative instruments, a bridge loan fee commitment fee and a deferred lease
transaction charge, was $92.3 million, a 67 percent increase over the prior year
period. Net income before special charges was $28.1 million or $0.36 per share
compared with $15.4 million or $0.23 per share for the third quarter of 2000.

"We are very pleased with Hanover's performance across all business
lines," said Michael J. McGhan, President and Chief Executive Officer. "The
results reflect the solid integration of Production Operators, Inc. (POI) and related
assets that we recently acquired from Schlumberger Ltd., as well as excellent
operation of our existing businesses, and continued sound execution of our
expansion into new geographic and product markets. Our results also demonstrate
strong organic growth in our outsourcing businesses, which now include
compression, gas treating, process measurement and power generation.
Significantly, Hanover's rental fleet utilization at the end of the quarter was 94.2
percent, reflecting both the stability of the critical production-related gas
compression segment as well as the superb performance of the Company's
outstanding field operations and business development groups.

35. On January 28, 2002, the Company disclosed the following:

- Hanover is fabricating the equipment to be used in the gas compression and
processing project with Shell under a construction contract with Hampton Roads and
is accounting for this activity under the percentage of completion method of
accounting. Hanover recorded total revenue from the construction contract of $16
million and net income of $2.6 million in fiscal 2000, and it recorded total revenue
of $3.6 million and net income of $0.6 million for the nine-month period ended
September 30, 2001. These amounts reflect the revenue related only to the majority
owners' 75% interest in Hampton Roads. The Company and its Board of Directors
are reviewing the transactions of this joint venture and the related accounting.

- To date, the joint venture's majority owner has invested $4.75 million in the
venture, which has been paid to Hanover by the venture in respect of the construction
contract. Hanover has contributed $1.5 million to Hampton Roads, proportionate to
its 25% ownership in the venture.

~ In response to a claim for expense reimbursement, the Company initiated
litigation against the former majority owner in the Hampton Roads joint venture.
Hanover's former majority partner in the venture was replaced entirely in July 2001
by a new, independent investment group and the joint venture is functioning
successfully.

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36. The true facts, which were known by the defendants during the Class Period but
concealed from the public, were:

(a) The $16 million in revenue and $2.6 million in net income recognized in Q3
and Q4 associated with the Hampton Roads fabrication project should not have been recognized as
it did not reflect the percentage of the project's completion;

(b) Hanover's "former majority partner" in the Hampton Roads project was
actually replaced on March 19, 2001, not July 2001;

(c) Defendants "paid off" the investor in Hampton Roads the sum of $1 million
in exchange for the investor's signature on the sham transaction documents on or before September
30, 2000, in order for the Company to use the same to inflate the Company's revenue and earnings
as early as Q3 00;

(d) Defendants issued a "side letter" to the Hampton Roads investor offering to
loan up to $40 million to the joint venture in order to induce the investor to enter into the agreement
by September 30, 2000;

(e) In winter 2000, defendants actually knew that the Hampton Roads project
completion date had been pushed out to 2003 or 2004 — not 2001;

(f) The Registration Statement omits the Hampton Roads project and
incorporates the Company's false and misleading Q3 and Q4 2000 financial results;

(g) The Company's financial statements for Q1-Q3 2001 were false in that the
revenue and EPS were overstated and they failed to disclose the impact of the dubious Hampton
Roads project. Moreover, these statements (in addition to the Registration Statement/Prospectus)
concealed the fact that the investor in the transaction advised defendants in February 2001 that it
sought to back out of the venture; and

(h) On February 6, 2001, the investor in Hampton Roads demanded a refund of
his $4 million. Further, in a secret "behind-the-scenes" type transaction, the Company refused to
refund the money directly to the investor. Instead, defendants forwarded the money to a company

related to the investor so that the transaction would go uncovered. Finally, defendants arranged for

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the "related company" to issue a Promissory Note to Hanover in the amount of $4 million (the same
amount as the refund) which it agreed in an oral "side agreement" not to insist upon payment.
FALSE FINANCIAL STATEMENTS

37. In order to overstate its net income and EPS during the Class Period, the defendants
caused the Company to violate GAAP and SEC rules by failing to disclose the true impact of
Hampton Roads on the Company which, pursuant to GAAP, was required to be disclosed in
Hanover's financial statements and its Registration Statement. Moreover, the Company should not
have recognized the revenue/EPS associated with its dubious Hampton Roads project.

38. | Hanover included their results for Q3 00, Q4 00, Q1 01, Q2 01 and Q3 01 in press
releases and in SEC filings, including Form 10-Qs for the interim results and Form 10-Ks (for 2000)
for the annual results. The SEC filings represented that the financial information was a fair
statement of its financial results and that the results were prepared in accordance with GAAP.

39. These representations were false and misleading as to the financial information
reported, as such financial information was not prepared in conformity with GAAP, nor was the
financial information "a fair presentation" of the Company's operations due to the Company's
improper accounting for its Hampton Roads joint venture, causing the financial results to be
presented in violation of GAAP and SEC rules.

40. GAAP are those principles recognized by the accounting profession as the
conventions, rules and procedures necessary to define accepted accounting practice at a particular
time. Regulation S-X (17 C.F.R. §210.4-01(a)(1)), states that financial statements filed with the
SEC which are not prepared in compliance with GAAP are presumed to be misleading and
inaccurate. Regulation S-X requires that interim financial statements must also comply with GAAP,
with the exception that interim financial statements need not include disclosure which would be
duplicative of disclosures accompanying annual financial statements. 17 C.F.R. §210.10-01(a).

41. Moreover, pursuant to §13(b)(2) of the Exchange Act, Hanover was required to:

(A) make and keep books, records, and accounts, which, in reasonable detail,

accurately and fairly reflect the transactions and dispositions of the assets of the
issuer; and

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(B) devise and maintain a system of internal accounting controls sufficient
to provide reasonable assurances that —

(i) transactionsare executed in accordance with management's
general or specific authorization;

(ii) transactions are recorded as necessary (I) to permit

preparation of financial statements in conformity with generally

accepted accounting principles ....

42. Due to these accounting improprieties, the Company presented its financial results
and statements in a manner which violated GAAP, including the following fundamental accounting
principles:

(a) The principle that interim financial reporting should be based upon the same
accounting principles and practices used to prepare annual financial statements was violated (APB
No. 28, 410); |

(b) The principle that financial reporting should provide information that is useful
to present and potential investors and creditors and other users in making rational investment, credit
and similar decisions was violated (FASB Statement of Concepts No. 1, 434);

(c) The principle that financial reporting should provide information about the
economic resources of an enterprise, the claims to those resources, and effects of transactions, events
and circumstances that change resources and claims to those resources was violated (FASB
Statement of Concepts No. 1, $40);

(d) The principle that financial reporting should provide information about how
management of an enterprise has discharged its stewardship responsibility to owners (stockholders)
for the use of enterprise resources entrusted to it was violated. To the extent that management offers
securities of the enterprise to the public, it voluntarily accepts wider responsibilities for
accountability to prospective investors and to the public in general (FASB Statement of Concepts
No. 1, 950);

(e) The principle that financial reporting should provide information about an
enterprise's financial performance during a period was violated. Investors and creditors often use
information about the past to help in assessing the prospects of an enterprise. Thus, although

investment and credit decisions reflect investors’ expectations about future enterprise performance,

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those expectations are commonly based at least partly on evaluations of past enterprise performance
(FASB Statement of Concepts No. 1, 942);

(f) The principle that financial reporting should be reliable in that it represents
what it purports to represent was violated. That information should be reliable as well as relevant
is a notion that is central to accounting (FASB Statement of Concepts No. 2, J§58-59);

(g) The principle of completeness, which means that nothing is left out of the
information that may be necessary to insure that it validly represents underlying events and
conditions was violated (FASB Statement of Concepts No. 2, $79); and

(h) The principle that conservatism be used as a prudent reaction to uncertainty
to try to ensure that uncertainties and risks inherent in business situations are adequately considered
was violated. The best way to avoid injury to investors is to try to ensure that what is reported
represents what it purports to represent (FASB Statement of Concepts No. 2, 9995, 97).

43. Further, the undisclosed adverse information concealed by defendants during the
Class Period is the type of information which, because of SEC regulations, regulations of the
national stock exchanges and customary business practice, is expected by investors and securities
analysts to be disclosed and is known by corporate officials and their legal and financial advisors to
be the type of information which is expected to be and must be disclosed.

CLASS ACTION ALLEGATIONS

44. Plaintiff brings this lawsuit pursuant to Rule 23(a) and (b)(3) of the Federal Rules of
Civil Procedure, on behalf of itself and on behalf of a class of persons who purchased Hanover
publicly traded securities from November 8, 2000 through January 28, 2002, inclusive (the "Class").
Excluded from the Class are defendants herein, members of the immediate families of each of the
defendants, any person, firm, trust, corporation, officer, director or other individual or entity in
which any defendant has a controlling interest or which is related to or affiliated with any of the
defendants, and the legal representatives, agents, affiliates, heirs, successors-in-interest or assigns
of any such excluded party.

45. This action is properly maintainable as a class action for the following reasons:

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(a) The Class is so numerous that joinder of all Class members is impracticable.
As of November 1, 2001, Hanover had approximately 79 million shares outstanding. Members of
the Class are scattered throughout the United States.

(b) There are questions of law and fact which are common to members of the
Class and which predominate over any questions affecting only individual members. The common
questions include, inter alia, the following:

(i) Whether the defendants’ acts as alleged herein violated the federal
securities laws;

(ii) Whether defendants participated in and pursued the common course
of conduct complained of herein;

(iii) Whether documents, SEC filings, press releases and other statements
disseminated to the investing public and Hanover's common stockholders during the Class Period
misrepresented material facts about the operations, financial condition and earnings of Hanover;

(iv) Whether the market prices of Hanover publicly traded securities during
the Class Period were artificially inflated due to material misrepresentationsand the failure to correct
the material misrepresentations complained of herein; and

(v) To what extent the members of the Class have sustained damages and
the proper measure of damages.

(c) Plaintiff's claims are typical of the claims of other members of the Class and
plaintiff has no interests that are adverse or antagonistic to the interests of the Class.

(d) Plaintiff is committed to the vigorous prosecution of this action and has
retained competent counsel experienced in litigation of this nature. Accordingly, plaintiff is an
adequate representative of the Class and will fairly and adequately protect the interests of the Class.

(e) Plaintiff anticipates that there will not be any difficulty in the management
of this litigation as a class action.

46. For the reasons stated herein, a class action is superior to other available methods for

the fair and efficient adjudication of this action and the claims asserted herein. Because of the size

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of the individual Class members’ claims, few, if any, Class members could afford to seek legal
redress individually for the wrongs complained of herein.
COUNT I

For Violation of §10(b) of the Exchange Act and Rule 10b-5
Promulgated Thereunder Against All Defendants

47. Plaintiff repeats and realleges the allegations set forth above as though fully set forth
herein.

48. This Count is brought by plaintiff pursuant to §10(b) of the Exchange Act and Rule
10b-5 promulgated thereunder by the SEC against all defendants.

49. The defendants: (a) employed devices, schemes, and artifices to defraud; (b) made
untrue statements of material fact and/or omitted to state material facts necessary in order to make
the statements made not misleading; and (c) engaged in acts, practices, and a course of business
which operated as a fraud and deceit upon the purchasers of Hanover securities in an effort to
maintain artificially high market prices for Hanover securities in violation of §10(b) of the Exchange
Act and Rule 10b-5. Defendants are sued as primary participants in the wrongful and illegal conduct
charged herein and/or as controlling persons as alleged below.

50. In addition to the duties of full disclosure imposed on the defendants by their status
as controlling persons of Hanover, as a result of their affirmative statements and reports, or
participation in the making of affirmative statements and reports to the investing public, defendants
had a duty to promptly disseminate truthful information that would be material to investors in
compliance with the integrated disclosure provisions of the SEC as embodied in SEC regulations
S-X (17 C.F.R. §210.01, et.seq.) and S-K (17 C.F.R. §229.10, et seg.) and other SEC regulations,
including accurate and truthful information with respect to Hanover's securities, operations, financial
condition and earnings so that the market price of Hanover publicly traded securities would be based
on truthful, complete and accurate information.

51. Defendants, individually and in concert, directly and indirectly, by using the means
and instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

continuous course of conduct to conceal adverse material information about the business, operations

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and future prospects of Hanover as specified herein. The defendants employed devices, schemes and
artifices to defraud, while in possession of material adverse non-public information and engaged in
acts, practices, and a course of conduct as alleged herein in an effort to assure investors of Hanover's
value and performance and continued substantial growth, which included the making of, or the
participation in the making of, untrue statements of material facts and omitting to state material facts
necessary in order to make the statements made about Hanover and its business operations and future
prospects, in light of the circumstances under which they were made, not misleading, as set forth
more particularly herein, and engaged in transactions, practices and a course of business which
operated as a fraud and deceit upon the purchasers of Hanover publicly traded securities during the
Class Period.

52. The primary liability and controlling person liability of defendants arises from the
fact that during the Class Period, the defendants engaged in a scheme to conceal Hanover's Hampton
Roads transaction to prevent the decline in the price of Hanover securities so that defendants could
use Hanover's artificially inflated stock as currency to complete an acquisition and to reap at least
$177 million in insider trading proceeds.

53. The defendants had actual knowledge of the misrepresentations and omissions of
material facts set forth herein. Such defendants’ material misrepresentationsor omissions were done
knowingly and for the purpose and effect of concealing Hanover's operating condition and future
business prospects from the investing public and supporting the artificially inflated prices of their
securities, as demonstrated by said defendants' overstatements and misstatements of Hanover's
business, operations and future earnings prospects and/or financial statements throughout the Class
Period.

54. Asaresult of the dissemination of the materially false and misleading information
and failure to disclose material facts by all defendants, as set forth above, the market prices of
Hanover publicly traded securities were artificially inflated during the Class Period. In ignorance
of the fact that the market prices for Hanover securities were artificially inflated, and relying directly
or indirectly on the false and misleading statements made by defendants, or upon the integrity of the

market in which the securities trade, and the truth of any representations made to appropriate

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agencies and to the investing public, at the times at which any statements were made, and/or on the
absence of material adverse information that was known by defendants but not disclosed in public
statements by defendants during the Class Period, plaintiff and the other members of the Class
acquired Hanover publicly traded securities during the Class Period at artificially high prices and
were damaged thereby.

55. At the time of said misrepresentationsand omissions, plaintiffand other members of
the Class were ignorant of their falsity and believed them to be true. Had plaintiff and the other
members of the Class and the marketplace known of the true financial condition and business
prospects of Hanover, which were not disclosed by defendants, plaintiff and other members of the
Class would not have purchased Hanover publicly traded securities during the Class Period, or, if
they had purchased such securities during the Class Period, they would not have done so at the
artificially inflated prices which they paid.

56. By virtue of the foregoing, defendants have violated §10(b) of the Exchange Act and
Rule 10b-5 promulgated thereunder.

57. As a direct and proximate result of the wrongful conduct of the defendants, plaintiff
and the other members of the Class suffered damages in connection with their purchases of Hanover
publicly traded securities during the Class Period.

COUNT II

For Violation of Section 20(a) of the
Exchange Act Against All Defendants

58. Plaintiff repeats and realleges the allegations set forth above as if set forth fully
herein.

59. Defendants acted as controlling persons of Hanover within the meaning of §20(a) of
the Exchange Act as alleged herein. By virtue of their high-level positions, substantial stock
holdings, participation in and/or awareness of Hanover's operations and/or intimate knowledge of
its internal financial condition, business practices, products and the actual progress of development
and marketing efforts, the Individual Defendants had the power to influence and control and did

influence and control, directly or indirectly, the decision-making of Hanover, including the content

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and dissemination of the various statements which plaintiff contends are false and misleading.
Hanover controlled the Individual Defendants and all of its employees. Each of the Individual
Defendants was provided with or had unlimited access to copies of Hanover's internal reports, press
releases, public filings and other statements alleged by plaintiff to be misleading prior to and/or
shortly after these statements were issued and had the ability to prevent the issuance of the
statements or cause the statements to be corrected.

60. In particular, each of the Individual Defendants had direct involvement in or intimate
knowledge of the day-to-day operations of Hanover and therefore is presumed to have had the power
to control or influence the particular transactions giving rise to the securities violations as alleged
herein, and exercised the same.

61. Asset forth above, defendants violated §10(b) of the Exchange Act and Rule 10b-5
by their acts and omissions as alleged in this Complaint. By virtue of their positions as controlling
persons, defendants are liable pursuant to §20(a) of the Exchange Act.

62. Asadirect and proximate result of the wrongful conduct of defendants, plaintiff and
other members of the Class suffered damages in connection with their purchases of Hanover publicly
traded securities during the Class Period.

PRAYER FOR RELIEF

WHEREFORE, plaintiff, on behalf of itself and the Class, prays for judgment as follows:

A. Declaring this action to be a class action properly maintained pursuant to Rule 23 of
the Federal Rules of Civil Procedure;

B. Awarding plaintiff and other members of the Class damages together with interest
thereon;

C, Awarding plaintiff and other members of the Class costs and expenses of this
litigation, including reasonable attorneys' fees, accountants' fees and experts’ fees and other costs and
disbursements; and

D. Awarding plaintiffand other members of the Class such equitable/injunctive and/or

other and further relief as may be just and proper under the circumstances.

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JURY DEMAND

Plaintiff demands a trial by jury.

DATED: February 4, 2002

SCHWARTZ, JUNELL, CAMPBELL
& OATHOUT, LLP

ROGER B. GREENBERG

Federal I.D. No. 3932

State Bar No. 08390000

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Attorney in Charge

 
 

 

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VON

 

PIRELLI ARMSTRONG TIRE CORPORATION RETIREE MEDICAL
BENEFITS TRUST ("Plaintiff") declares;

1.  Plaintiffhas reviewed 2 complaint and authorized its filimg.

2. Plaintiff did not acquire the security that is the subject of this action
at the direction of plaintiff's counsel or in order to participate in this private
: action or any other litigation under the federal securities laws.
| 3.  Plaintiffis willing to serve as a representative party on behalf of the

class, including providing testimony at deposition and trial, if necessary.
4. Plaintiff has made the following transaction(s) during the Class
Period in the securities thet are the subject of this action:

 

Acquisitions: Number of Shares | Acquisition Price Per
Date Acquired Acquired Share
02/07/0) 336 shares $37.99
02/08/01 84 shares $37.89
06/26/01 555 shares $35.32
06/27/01 1,345 shares $35.01
5. During the three years prior to the date of this Certificate, Plaintiff

 

 

 

 

 

 

 

 

 

has not sought to serve or served as a representative party for a class in an action
filed under the federal securities laws except as detailed below:
Pirelli Armstrong Tire Corporation Retiree Medical Benefits Trust v. Cisco
Systems, Inc., et al., No. C-0]-1612-VRW (N.D. Cal.)

In re Dollar General Sec. Litig.,

6.

No. 3:01-0388 (M.D. Ten.)
The Plainuff will not accept any payment for serving 2s a

representative party on behalf of the class beyond the Plaintiffs pro rata share
of any recovery, except such reasonable costs and expenses (including lost |

 
 

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wages) directly relating to the representation of the class as ordered or approved

by the court.
I declare under penalty of perjury that the

Executed this j= day of February, 2002.

foregoing is true and correct,

PIRELLI ARMSTRONG TIRE
CORPORATION RETIREE MEDICAL

BENEFITS TRUST

 

Tts: Chairman of the Board of Directors
